                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )       NO. 3:12-00076
                                                     )       JUDGE CAMPBELL
ALLEN WALKER, et al.                                 )

                                             ORDER

        A Superseding Indictment (Docket No. 27) was filed in this case on June 13, 2012 adding

Defendants Jason Powell, Megan Johnson, Ashley Johnson, Jeffrey Johnson, Robert Hall,

Anthony James, Billy Griffith, and Charles Powell. The Court will hold a status conference on

July 18, 2012, at 10:00 a.m. The trial in this case is currently scheduled for January 29, 2013.

        All Defendants shall attend the hearing.

        It is so ORDERED.

                                                     ____________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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